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 8                               UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA
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11   IN RE: MIDLAND CREDIT                                    Case No. 11-md-2286-MMA (MDD)
     MANAGEMENT, INC., TELEPHONE
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     CONSUMER PROTECTION ACT                                  ORDER RE: ACTIVE MEMBER
13   LITIGATION                                               CASES AND MOTION DEADLINES
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19            On June 29, 2020, the Court held a telephonic Status Conference regarding the
20   status of this multidistrict litigation (“MDL”). See Doc. Nos. 782, 789. 1 For the reasons
21   stated on the record during the Status Conference, the Court ORDERS Midland to file a
22   report with two lists of the current pending member cases within this MDL on or before
23   July 8, 2020: (1) one list containing the member cases alleging calls prior to September
24   1, 2014 and (2) one list containing the member cases alleging calls on or after September
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         All citations refer to the pagination assigned by the CM/ECF system.
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                                                                                11-md-2286-MMA (MDD)
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 1   1, 2014.2 Furthermore, the Court ORDERS that any discovery dispute regarding the
 2   April 27, 2020 discovery order (Doc. No. 776) be brought to the Court’s attention on or
 3   before July 15, 2020. Any request for additional discovery must also be filed on or
 4   before July 15, 2020.
 5          IT IS SO ORDERED.
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 7   Dated: June 30, 2020
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      Although not specifically discussed during the Status Conference, upon further consideration, the
     Court finds that a separate list of member cases alleging calls on or after September 1, 2014 would assist
28   both the parties and the Court.

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